Case 1:25-cv-11418-MJJ Document1-3 Filed 05/27/25 Page 1 of 13

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Javaid Aziz, individually and as attorney-in-fact for Jamila K. Butt,
Plaintiff

Vv. Civil Action No.

Neelofar K. Butt,
Defendant

SUMMONS INA CIVIL ACTION

To: Neelofar K. Butt,

319 Martling Avenue,

Tarrytown, NY 10591

Phone: (845) 424-4444 (Work)

Email: care of neil.reig@elderlawadvisor.net

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it)
— or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
plaintiff's attorney, whose name and address are:

Javaid Aziz

131 Reed Street

Cambridge, MA 02140
Phone: (617) 642-9058
Email: javaid.aziz@ gmail.com

IF you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint.

You also must file your answer or motion with the court.
CLERK OF COURT
Date:

Signature of Clerk or Deputy Clerk:

Case 1:25-cv-11418-MJJ Document1-3 Filed 05/27/25 Page 2 of 13

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Javaid Aziz, individually and as attorney-in-fact for Jamila K. Butt,
Plaintiff

Vv. Civil Action No.

Neil H. Reig, Esq.,
Defendant

SUMMONS IN A CIVIL ACTION

To: Neil H. Reig, Esq.,

118 North Bedford Rd., Ste 100
Mount Kisco, NY 10549-2555

Phone: (914) 242-4800

Email: neil.reig@elderlawadvisor.net

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it)
— or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
plaintiffs attorney, whose name and address are:

Javaid Aziz

131 Reed Street

Cambridge, MA 02140
Phone: (617) 642-9058
Email: javaid.aziz@gmail.com

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint.

You also must file your answer or motion with the court.
CLERK OF COURT
Date:

Signature of Clerk or Deputy Clerk:

Case 1:25-cv-11418-MJJ Document1-3 Filed 05/27/25 Page 3 of 13

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Javaid Aziz, individually and as attorney-in-fact for Jamila K. Butt,
Plaintiff

V. Civil Action No.

Karen A. Morschhauser Bosshart, Esq,.,
Defendant

SUMMONS IN ACIVIL ACTION

To: Karen A. Morschhauser Bosshart, Esq.,
344 E Main St., Ste 101

Mount Kisco, NY 10549-3086

Phone: (914) 244-3100

Email: care of neil.reig@elderlawadvisor.net

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it)
— or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
plaintiffs attorney, whose name and address are:

Javaid Aziz

131 Reed Street

Cambridge, MA 02140
Phone: (617) 642-9058
Email: javaid.aziz@gmail.com

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint.

You also must file your answer or motion with the court.
CLERK OF COURT
Date:

Signature of Clerk or Deputy Clerk:

Case 1:25-cv-11418-MJJ Document1-3 Filed 05/27/25 Page 4of13

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Javaid Aziz, individually and as attorney-in-fact for Jamila K. Butt,
Plaintiff

Vv. Civil Action No.

Christopher L. Mangold, Esq.,
Defendant

SUMMONS IN A CIVIL ACTION
To: Christopher L. Mangold, Esq.,
200 East Post Road, 2nd Floor
White Plains, NY 10549

Phone: (914) 288-8052

Email: cmangold@cmdivlaw.com

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it)
— or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
plaintiffs attorney, whose name and address are:

Javaid Aziz

131 Reed Street

Cambridge, MA 02140
Phone: (617) 642-9058
Email: javaid.aziz@gmail.com

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint.

You also must file your answer or motion with the court.
CLERK OF COURT
Date:

Signature of Clerk or Deputy Clerk:

Case 1:25-cv-11418-MJJ Document1-3 Filed 05/27/25 Page 5of 13

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Javaid Aziz, individually and as attorney-in-fact for Jamila K. Butt,
Plaintiff

Vv. Civil Action No.

Brightview Senior Living, LLC (Paul Ataide),
Defendant

SUMMONS IN A CIVIL ACTION

To: Brightview Senior Living, LLC (Paul Ataide),
Brightview Tarrytown - Senior Living and Memory Care
581 Old White Plains Rd,

Tarrytown, NY 10591

Phone: (914) 368-6228

Email: PATAIDE@bvsl.net

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it)
— or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
plaintiffs attorney, whose name and address are:

Javaid Aziz

131 Reed Street

Cambridge, MA 02140
Phone: (617) 642-9058
Email: javaid.aziz@ gmail.com

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint.

You also must file your answer or motion with the court.
CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk:
Case 1:25-cv-11418-MJJ Document1-3 Filed 05/27/25 Page 6 of 13

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Javaid Aziz, individually and as attorney-in-fact for Jamila K. Butt,
Plaintiff

V. Civil Action No.

Steven C. Bromberg, CPA,
Defendant

SUMMONS IN A CIVIL ACTION
To: Steven C. Bromberg, CPA,
118 North Bedford Rd., Ste 100
Mount Kisco, NY 10549-2555
Phone: (914) 864-3320

Email: daytodaycpa@verizon.net

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it)
— or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
plaintifPs attorney, whose name and address are:

Javaid Aziz

131 Reed Street

Cambridge, MA 02140
Phone: (617) 642-9058
Email: javaid.aziz@ gmail.com

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint.

You also must file your answer or motion with the court.
CLERK OF COURT
Date:

Signature of Clerk or Deputy Clerk:

Case 1:25-cv-11418-MJJ Document1-3 Filed 05/27/25 Page 7 of 13

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Javaid Aziz, individually and as attorney-in-fact for Jamila K. Butt,
Plaintiff

Vv. Civil Action No.

Craig S. Donais, Esq.,
Defendant

SUMMONS IN A CIVIL ACTION

To: Craig S. Donais, Esq.,

95 Market Street

Manchester, NH 03101

Phone: (603) 669-4140

Email: cdonais@wadleighlaw.com

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it)
— or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
plaintiffs attorney, whose name and address are:

Javaid Aziz

131 Reed Street

Cambridge, MA 02140
Phone: (617) 642-9058
Email: javaid.aziz@gmail.com

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint.

You also must file your answer or motion with the court.
CLERK OF COURT
Date:

Signature of Clerk or Deputy Clerk:

Case 1:25-cv-11418-MJJ Documenti1-3 Filed 05/27/25 Page 8 of 13

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Javaid Aziz, individually and as attorney-in-fact for Jamila K. Butt,
Plaintiff

V. Civil Action No.

Thomas J. Rizzo, Esq.,
Defendant

SUMMONS IN ACIVIL ACTION
To: Thomas J. Rizzo, Esq.,

35 Braintree Hill Park, Suite 401
Braintree, MA 02184

Phone: (781) 848-5028

Email: trizzo@schlossbergllc.com

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it)
— or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
plaintiffs attorney, whose name and address are:

Javaid Aziz

131 Reed Street

Cambridge, MA 02140
Phone: (617) 642-9058
Email: javaid.aziz@gmail.com

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint.

You also must file your answer or motion with the court.
CLERK OF COURT
Date:

Signature of Clerk or Deputy Clerk:

Case 1:25-cv-11418-MJJ Document1-3 Filed 05/27/25 Page 9of13

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Javaid Aziz, individually and as attorney-in-fact for Jamila K. Butt,
Plaintiff

Vv. Civil Action No.

Dr. Jennifer Rosen,
Defendant

SUMMONS IN A CIVIL ACTION

To: Dr. Jennifer Rosen,

170 Maple Ave., Unit 309

White Plains, NY 10601

Phone: (914) 220-0283

Email: care of neil.reig@elderlawadvisor.net

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it)
— or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
plaintiff's attorney, whose name and address are:

Javaid Aziz

131 Reed Street

Cambridge, MA 02140
Phone: (617) 642-9058
Email: javaid.aziz@gmail.com

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint.

You also must file your answer or motion with the court.
CLERK OF COURT
Date:

Signature of Clerk or Deputy Clerk:

Case 1:25-cv-11418-MJJ Document1-3 Filed 05/27/25 Page 10 of 13

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Javaid Aziz, individually and as attorney-in-fact for Jamila K. Butt,
Plaintiff

Vv. Civil Action No.

Hannah Lea Emmett,
Defendant

SUMMONS IN A CIVIL ACTION

To: Hannah Lea Emmett,

10 Spur Road

Putnam Valley, NY 10579

Phone:

Email: care of neil.reig@elderlawadvisor.net

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it)
— or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
plaintiffs attorney, whose name and address are:

Javaid Aziz

131 Reed Street

Cambridge, MA 02140
Phone: (617) 642-9058
Email: javaid.aziz@gmail.com

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint.

You also must file your answer or motion with the court.
CLERK OF COURT
Date:

Signature of Clerk or Deputy Clerk:

Case 1:25-cv-11418-MJJ Document1-3 Filed 05/27/25 Page 11 of 13

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Javaid Aziz, individually and as attorney-in-fact for Jamila K. Butt,
Plaintiff

V. Civil Action No.

Hon. Wayne A. Humphrey,
Defendant

SUMMONS IN A CIVIL ACTION
To: Hon. Wayne A. Humphrey,
Westchester County Family Court
131 Warburton Ave., 3rd Floor
Yonkers, NY 10701

Phone: (914) 831-6555

Email:

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it)
— or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
plaintiffs attorney, whose name and address are:

Javaid Aziz

131 Reed Street

Cambridge, MA 02140
Phone: (617) 642-9058
Email: javaid.aziz@gmail.com

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint.

You also must file your answer or motion with the court.
CLERK OF COURT
Date:

Signature of Clerk or Deputy Clerk:

Case 1:25-cv-11418-MJJ Document1-3 Filed 05/27/25 Page 12 of 13

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Javaid Aziz, individually and as attorney-in-fact for Jamila K. Butt,
Plaintiff

V. Civil Action No.

Hon. Linda S. Jamieson,
Defendant

SUMMONS IN ACIVIL ACTION

To: Hon. Linda S. Jamieson,

Supreme Court, Westchester County

111 Martin Luther King Jr. Blvd., 9th Floor
White Plains, NY 10601

Phone: (914) 824-5300

Email:

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it)
— or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
plaintiff's attorney, whose name and address are:

Javaid Aziz

131 Reed Street

Cambridge, MA 02140
Phone: (617) 642-9058
Email: javaid.aziz@gmail.com

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint.

You also must file your answer or motion with the court.
CLERK OF COURT
Date:

Signature of Clerk or Deputy Clerk:

Case 1:25-cv-11418-MJJ Document1-3 Filed 05/27/25 Page 13 of 13

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Javaid Aziz, individually and as attorney-in-fact for Jamila K. Butt,
Plaintiff

Vv. Civil Action No.

Hon. William J. Giacomo,
Defendant

SUMMONS IN A CIVIL ACTION

To: Hon. William J. Giacomo,

Supreme Court, Westchester County

111 Martin Luther King Jr. Blvd., 9th Floor
White Plains, NY 10601

Phone: (914) 824-5300

Email:

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it)
— or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or
plaintiff's attorney, whose name and address are:

Javaid Aziz

131 Reed Street

Cambridge, MA 02140
Phone: (617) 642-9058
Email: javaid.aziz@gmail.com

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint.

You also must file your answer or motion with the court.
CLERK OF COURT
Date:

Signature of Clerk or Deputy Clerk:

